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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
_______________________________________
In re:                                                  MOTION FOR RELIEF
                                                        FROM AUTOMATIC STAY
      Susannah R. Appelbaum,                            AND CO-DEBTOR STAY

                                                        Chapter 13
                                                        Case No. 17-35930-cgm
                                   Debtor.              Hon. Chief Judge Cecelia G. Morris

_______________________________________

      Bayview Loan Servicing, LLC (hereinafter "Bayview"), a secured creditor of the

above-named Debtor, moves the above-entitled Court for an Order granting relief from

the automatic stay and co-debtor stay pursuant to 11 U.S.C. §362(d)(1) and 11 U.S.C.

§1301 to permit it to proceed with an action to foreclose its mortgage with respect to

certain real property of the Debtor and Neil Serringer, commonly known as 360

Springtown Road, New Paltz, NY 12561, and more particularly described in a copy of a

Consolidation, Extension, and Modification Agreement annexed hereto and made a

part hereof as Exhibit “A,” and awarding Bayview its attorney’s fees and costs

associated with the Motion. As grounds for said Motion, it is hereby alleged as follows:

      1.       On June 6, 2008, the Debtor and Neil Serringer (hereinafter “co-debtor”)

borrowed $430,550.00 from JPMorgan Chase Bank, N.A. The indebtedness was

evidenced by a note, which was secured by a mortgage on the aforesaid real property.

On December 15, 2011 the debtor and co-debtor borrowed $5,962.40 from JPMorgan
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Chase Bank, N.A. The indebtedness was evidenced by a note, which was secured by a

mortgage on the aforesaid real property.

      2.       The aforementioned mortgages were consolidated to form a single lien in

the amount of $407,000.00 by Consolidation, Extension and Modification Agreement.

See attached copy of the Consolidation, Extension and Modification Agreement. The

consolidated mortgage was assigned from JPMorgan Chase Bank, National Association

to Bayview. A copy of the assignment is annexed hereto and made a part here of as

Exhibit “B”.

      3.       Debtor filed a petition for relief under Chapter 13 of the United States

Bankruptcy Code in this Court on May 29, 2017.

      4.       According to the 362 worksheet executed by Lissette Gonzalez, a

Bankruptcy Document Coordinator with Bayview, the Debtor was due for the June 1,

2017 through October 1, 2017, post-petition mortgage payments. A copy of said 362

worksheet is annexed hereto and made a part hereof as Exhibit “C”.

      5.       The total indebtedness was $584,098.36 as of October 16, 2017.

      6.       Bayview also seeks relief for any installment that becomes due and is

unpaid on the return date of this Motion. The foregoing does not represent any accrued

late charges, corporate advances, escrow advances and any amount which may be due

for costs and attorney fees which may be allowed by the Court.
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       7.      Bayview may be required to advance the funds necessary to pay real

property taxes or risk irreparable harm to its security interest as a result of Debtor’s

default.

       8.      By reason of the foregoing, Bayview, its servicing agent, nominees,

successors and/or assigns should be permitted to take all necessary action to adequately

protect its security interest.

       9.      It is requested that, in the event that an Order Granting Relief from the

Automatic Stay and Co-Debtor Stay is granted, that such Order shall survive any

conversion.

       10.     Bayview specifically requests permission from the Honorable court to

communicate with the Debtor and Debtor’s attorney to the extent necessary to comply

with applicable non-bankruptcy law.

       11.     Bayview respectfully requests a waiver of the stay imposed by F.R.B.P.

4001(a)(3).

       12.     In the event that an Order Granting Relief from the Automatic Stay and

Co-Debtor Stay is granted, the Trustee shall receive notice of any surplus monies

received.

       13.     It is respectfully submitted that Bayview will be irreparably harmed by a

continuation of the co-debtor stay.
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      WHEREFORE, Bayview Loan Servicing, LLC requests that this Court enter an

Order granting Bayview, its servicing agent, nominees, successors and/or assigns relief

from the automatic stay and co-debtor stay, together with Bayview’s attorneys’ fees and

costs in the amount of $831.00 if settled conditionally and $631.00 if granted on default,

and Bayview be granted permission to communicate with the Debtor and Debtor’s

counsel to the extent necessary to comply with applicable non-bankruptcy law, that in

the event that an Order Granting Relief from the Automatic stay and Co-Debtor Stay is

granted, that such Order shall survive any conversion, the Trustee shall receive notice

of any surplus monies received and such other and further relief as the Court may deem

just and proper.

Dated: November 16, 2017          SCHILLER, KNAPP, LEFKOWITZ
                                       & HERTZEL LLP




                                     By: _ _/s/Lisa Milas___ _________________
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